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                 Exhibit 3
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From: Dragalin, Veronica (USACAC) <Veronica.Dragalin@usdoj.gov>
Sent: Monday, March 14, 2022 12:07 PM
To: Carel Ale <Carel_Ale@fd.org>; Charles Snyder <Charles_Snyder@fd.org>; Adam Olin <Adam_Olin@fd.org>; Harland
Braun <harland@braunlaw.com>; Ariel A. Neuman <aneuman@birdmarella.com>; Ray S. Seilie
<rseilie@birdmarella.com>; Richard Steingard <richard@steingardlaw.com>
Cc: Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Mills, Melissa (USACAC) 2 <Melissa.Mills@usdoj.gov>; Palmer,
Cassie (USACAC) 2 <Cassie.Palmer@usdoj.gov>
Subject: Huizar, et al., CR-20-326(A)-JFW - Government Proposed Schedule

Dear Counsel,

Attached please find the government’s proposed schedule for the three consecutive trials in this case. We have been
engaging in meet and confer efforts with defense counsel separately. Given the outcome of those discussions and
negotiations last week, the attached is the government’s final position on the pre-trial deadlines for each trial. We
assume all defendants object to these dates based on our prior discussions. We anticipate filing a brief with the
government’s proposed deadlines tomorrow. Rather than filing a joint filing with the positions of each defendant and
potentially delaying the filing by having to wait for a response from each attorney, we suggest allowing each defendant
to file his/its response separately on your preferred timeline.

Our brief will have a more fulsome explanation for the proposed deadlines, but we direct your attention to U.S. v.
Elmezayen, CR-18-809-JFW, a complex fraud case involving murders that was tried before Judge Walter in October
2019. Our proposed schedule follows the briefing schedules and pre-trial deadlines from the Elmezayen case. We have
also limited the schedule only to those deadlines that Judge Walter normally includes in his criminal trial order. Now
that this case has been split into three separate trials, we believe our prior set of extremely advanced deadlines are no
longer warranted or feasible.

Thanks,

Veronica Dragalin | Assistant United States Attorney
United States Attorney’s Office | Central District of California
1500 United States Courthouse | 312 N. Spring St. | Los Angeles, California 90012
T: 213.894.0647 | F: 213.894.0141 | Veronica.Dragalin@usdoj.gov




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               U.S. v. Huizar, et al., CR-20-326(A)-JFW
                     Government Proposed Schedule

                                           LEE/                     HUIZAR/
                                        940 HILL       SZNW          CHAN
Event                                     Trial       Trial          Trial
Giglio/Brady Declaration               4/29/2022    6/17/2022      9/2/2022

MIL Filing                             5/2/2022     6/20/2022      9/6/2022

MIL Hearing                            5/20/2022     7/8/2022     9/23/2022

Gov Pre-Trial Exhibit List             5/23/2022    7/11/2022     9/26/2022

Meet & Confer re Exhibit List          5/27/2022    7/15/2022     9/30/2022

Joint Exhibit Stipulation              5/31/2022    7/18/2022     10/3/2022

Certified Translations                 5/31/2022    7/18/2022     10/3/2022

Expert Offer of Proof                  5/31/2022    7/19/2022     10/4/2022

Gov Pre-Trial Witness List             5/31/2022    7/19/2022     10/4/2022

Def Resp to Witness List               6/02/2022    7/21/2022     10/6/2022

Proposed Voir Dire                     6/03/2022    7/22/2022     10/7/2022

Gov Trial Brief                        6/06/2022    7/25/2022    10/10/2022

Jury Verdict Form                      6/06/2022    7/25/2022    10/10/2022

Jury Instructions                      6/06/2022    7/25/2022    10/10/2022

Pretrial Conference                    6/08/2022    7/27/2022    10/12/2022

Joint Statement of Case                6/09/2022    7/28/2022    10/13/2022

Def Pre-Trial Witness List             6/13/2022    8/01/2022    10/17/2022

TRIAL                                  6/14/2022     8/2/2022    10/18/2022

Def Exhibit Stipulation              (start of ∆    (start of     (start of
                                        case)        ∆ case)       ∆ case)
